                                               United States Bankruptcy Court
                                                    District of Arizona
In re:                                                                                                     Case No. 18-06889-EPB
Rita Marie Ippolito-Parouse                                                                                Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0970-2                  User: admin                        Page 1 of 2                          Date Rcvd: Jun 18, 2018
                                      Form ID: 309A                      Total Noticed: 28


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jun 20, 2018.
db              Rita Marie Ippolito-Parouse,    10316 E. Verbena Lane,    Scottsdale, AZ 85255
15084409       +Bank of America, N.A.,   PO Box 45144,    Jacksonville FL 32232-5144
15084414       +Citicards CBNA,   PO Box 6190,    Sioux Falls SD 57117-6190
15084418       +Honor Health-Scottsdale Shea Med Center,     9003 E. Shea Blvd.,   Scottsdale AZ 85260-6709
15084420       +Hyundai Financial Leasing,    PO Box 105291,    Atlanta GA 30348-5291
15084423        Macy’s,   PO Box 78029,    Phoenix AZ 85062-8029
15084424       +Maricopa Ambulance LLc,    PO Box 660030,    Dallas TX 75266-0030

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: kyle@kinneylaw.net Jun 19 2018 01:00:06       KYLE A. KINNEY,
                 LAW OFFICES OF KYLE A. KINNEY, PLLC,    1717 N 77TH ST., SUITE 6,    SCOTTSDALE, AZ 85257
tr              EDI: FRWBROWN.COM Jun 19 2018 04:48:00      ROGER W. BROWN,    P.O. BOX 32967,
                 PHOENIX, AZ 85064-2967
smg             EDI: AZDEPREV.COM Jun 19 2018 04:48:00      AZ DEPARTMENT OF REVENUE,    BANKRUPTCY & LITIGATION,
                 1600 W. MONROE, 7TH FL.,   PHOENIX, AZ 85007-2650
15084410        EDI: BANKAMER.COM Jun 19 2018 04:48:00      Bank of America, N.A.,    PO Box 982238,
                 El Paso TX 79998
15084406        EDI: BANKAMER.COM Jun 19 2018 04:48:00      Bank of America,    PO Box 982238,    El Paso TX 79998
15084408        EDI: BANKAMER.COM Jun 19 2018 04:48:00      Bank of America, N.A.,    PO Box 15220,
                 Wilmington DE 19886-5220
15084407        EDI: BANKAMER.COM Jun 19 2018 04:48:00      Bank of America, N.A.,    PO Box 2759,
                 Jacksonville FL 32203-2759
15084411       +EDI: TSYS2.COM Jun 19 2018 04:48:00      Barclays Bank Delaware,    PO Box 8803,
                 Wilmington DE 19899-8803
15084412        EDI: CAPITALONE.COM Jun 19 2018 04:48:00      Capital One,    15000 Capital One Drive,
                 Henrico VA 23238
15084413       +EDI: CAPITALONE.COM Jun 19 2018 04:48:00      Capital One Bank USA Na,     PO Box 30281,
                 Salt Lake City UT 84130-0281
15084415       +EDI: WFNNB.COM Jun 19 2018 04:48:00      Comenity Capital Bank Overstock.com,     PO Box 182120,
                 Columbus OH 43218-2120
15084416       +EDI: CRFRSTNA.COM Jun 19 2018 04:48:00      Credit First N.A.,    6275 Eastland Rd.,
                 Brookpark OH 44142-1399
15084417        EDI: DISCOVER.COM Jun 19 2018 04:48:00      Discover Financial Services,     PO Box 15316,
                 Wilmington DE 19850
15084419        EDI: HY11.COM Jun 19 2018 04:48:00      Hyundai Finance,    10550 Talbert Avenue,
                 Fountain Valley CA 92708
15084421        EDI: CBSKOHLS.COM Jun 19 2018 04:48:00      Kohl’s Credit,    PO BOX 3043,
                 Milwaukee WI 53201-3043
15084422       +EDI: CBSKOHLS.COM Jun 19 2018 04:48:00      Kohls/Capital One,    N56 W 17000 Ridgewood Drive,
                 Menomonee Falls WI 53051-5660
15084425       +EDI: MERRICKBANK.COM Jun 19 2018 04:48:00      Merrick Bank,    PO Box 9201,
                 Old Bethpage NY 11804-9001
15085730       +EDI: PRA.COM Jun 19 2018 04:48:00      PRA Receivables Management, LLC,     PO Box 41021,
                 Norfolk, VA 23541-1021
15084426       +EDI: RMSC.COM Jun 19 2018 04:48:00      Synchrony Bank Amazon,    PO Box 960013,
                 Orlando FL 32896-0013
15084427        EDI: RMSC.COM Jun 19 2018 04:48:00      Synchrony Bank dba Walmart,    Attn: Bankruptcy Dept,
                 PO BOX 965060,   Orlando FL 32896-5060
15084428       +EDI: USAA.COM Jun 19 2018 04:48:00      USAA Savings Bank,    10750 Mc Dermott Fwy,
                 San Antonio TX 78288-1600
                                                                                               TOTAL: 21

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
cr*              +PRA Receivables Management, LLC,   PO Box 41021,   Norfolk, VA 23541-1021
                                                                                                                    TOTALS: 0, * 1, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jun 20, 2018                                            Signature: /s/Joseph Speetjens
District/off: 0970-2         User: admin                 Page 2 of 2                  Date Rcvd: Jun 18, 2018
                             Form ID: 309A               Total Noticed: 28

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                             CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on June 18, 2018 at the address(es) listed below:
              KYLE A. KINNEY   on behalf of Debtor Rita Marie Ippolito-Parouse kyle@kinneylaw.net,
               paulahillock@kinneylaw.net
              ROGER W. BROWN   rogerbrowntrustee@live.com, rwb@trustesolutions.net,rrwwbb@hotmail.com
              U.S. TRUSTEE   USTPRegion14.PX.ECF@USDOJ.GOV
                                                                                            TOTAL: 3
Information to identify the case:
Debtor 1              Rita Marie Ippolito−Parouse                                        Social Security number or ITIN        xxx−xx−6175
                      First Name   Middle Name     Last Name                             EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                 Social Security number or ITIN _ _ _ _
                      First Name   Middle Name     Last Name
(Spouse, if filing)
                                                                                         EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            District of Arizona
                                                                                         Date case filed for chapter 7 6/13/18
Case number:          2:18−bk−06889−EPB


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                             12/17

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Your case could be dismissed if you do not file the required documents, fail to
appear at the meeting of creditors or if you do not provide photo identification and proof of social security number to
the trustee at the meeting.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                       Rita Marie Ippolito−Parouse

2.      All other names used in the
        last 8 years

3.     Address                               10316 E. Verbena Lane
                                             Scottsdale, AZ 85255

4.     Debtor's attorney                         KYLE A. KINNEY                                     Contact phone 480−269−7077
                                                 LAW OFFICES OF KYLE A. KINNEY, PLLC                Email: kyle@kinneylaw.net
       Name and address                          1717 N 77TH ST., SUITE 6
                                                 SCOTTSDALE, AZ 85257

5.     Bankruptcy trustee                        ROGER W. BROWN                                     Contact phone 602−274−4231
                                                 P.O. BOX 32967                                     Email: rogerbrowntrustee@live.com
       Name and address                          PHOENIX, AZ 85064−2967
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1
Debtor Rita Marie Ippolito−Parouse                                                                                Case number 2:18−bk−06889−EPB


6. Bankruptcy clerk's office                    U.S. Bankruptcy Court, Arizona                                    Office Hours: 9:00 am − 4:00 pm
                                                230 North First Avenue, Suite 101                                 Monday−Friday
    Documents in this case may be filed at this Phoenix, AZ 85003−1727
    address. You may inspect all records filed
    in this case at this office or online at                                                                      Contact Phone: (602) 682−4000
    www.pacer.gov.                                                                                                Date: 6/18/18

7. Meeting of creditors                          July 16, 2018 at 02:00 PM                                        Location:

    Debtors must attend the meeting to be        The meeting may be continued or adjourned to a                   US Trustee Meeting Room, 230
    questioned under oath. In a joint case,      later date. If so, the date will be on the court                 N. First Avenue, Suite 102,
    both spouses must attend. Creditors may
    attend, but are not required to do so.       docket.                                                          Phoenix, AZ


8. Presumption of abuse                          The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                     Filing deadline: 9/14/18
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                 You must file a complaint:
                                                 • if you assert that the debtor is not entitled to
                                                   receive a discharge of any debts under any of the
                                                   subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                   or

                                                 • if you want to have a debt excepted from discharge
                                                   under 11 U.S.C § 523(a)(2), (4), or (6).

                                                 You must file a motion:
                                                 • if you assert that the discharge should be denied
                                                   under § 727(a)(8) or (9).


                                                 Deadline to object to exemptions:                                Filing deadline: 30 days after the
                                                 The law permits debtors to keep certain property as              conclusion of the meeting of creditors
                                                 exempt. If you believe that the law does not authorize an
                                                 exemption claimed, you may file an objection.


10. Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a proof of claim now. If
                                                 it later appears that assets are available to pay creditors, the clerk will send you another notice telling you
    Please do not file a proof of claim unless   that you may file a proof of claim and stating the deadline.
    you receive a notice to do so.               Deadline for holder(s) of a claim secured by a security interest in the debtor's principal residence (Rule
                                                 3002(c)(7)(A): 70 Days from Case Filed Date.


11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court
                                                 to extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you
                                                 have any questions about your rights in this case.


12. Exempt property                              The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                                 distributed to creditors. Debtors must file a list of property claimed as exempt. You may inspect that list at
                                                 the bankruptcy clerk's office or online at www.pacer.gov. If you believe that the law does not authorize an
                                                 exemption that the debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                 objection by the deadline to object to exemptions in line 9.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                  page 2
